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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                                                       CASE NO.: 20-10690-BKC-AJC
                                                                    PROCEEDING UNDER CHAPTER 13

IN RE:

GEORBEL BARQUIE
YANELYS RODRIGUEZ

_____________________________/
DEBTORS

                                     NOTICE OF DELINQUENCY

   PLEASE TAKE NOTICE the above-referenced Debtors are delinquent in Confirmed Chapter 13 Plan
Payments in the amount of $637.95.

    The Debtors shall have forty-five (45) days from the date of this Notice to make all payments due under
the Confirmed Plan/Modified Plan, INCLUDING ANY PAYMENTS THAT BECOME DUE WITHIN
THE FORTY-FIVE (45) DAY PERIOD, in the form of a money order or cashier's check only. Payments
must be sent to:

       NANCY K. NEIDICH, ESQUIRE
       STANDING CHAPTER 13 TRUSTEE
       P.O. BOX 2099
       MEMPHIS, TN 38101-2099

    If the Chapter 13 Trustee ("Trustee") does not receive all payments by September 17, 2020 to bring the
Debtors totally current under the Confirmed Plan/Modified Plan, or if applicable, a Motion to Modify has
not been timely filed and set within fifteen (15) days of this Notice pursuant to the Confirmation Order, the
Trustee may file and serve a Report of Non-Compliance.

   As a result of the Debtors failure to become current or timely file a Motion to Modify, the case shall be
dismissed without further notice or hearing.

    I HEREBY CERTIFY that a true and correct copy of this Notice of Delinquency was served, via U.S.
first class mail and/or CM/ECF, upon the parties listed on the attached service list this 3rd day of August
2020.



                                                            /s/_____________________________________
                                                                Nancy K. Neidich
                                                            NANCY K. NEIDICH, ESQUIRE
                                                            STANDING CHAPTER 13 TRUSTEE
                                                            P.O. BOX 279806
                                                            MIRAMAR, FL 33027-9806
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                                                                     NOTICE OF DELINQUENCY
                                                                   CASE NO.: 20-10690-BKC-AJC

                                    SERVICE LIST

COPIES FURNISHED TO:

DEBTORS
GEORBEL BARQUIE
YANELYS RODRIGUEZ
4955 NW 199TH STREET
LOT 407
MIAMI GARDENS, FL 33055-1777

ATTORNEY FOR DEBTORS
ROBERT SANCHEZ, ESQUIRE
355 W 49 STREET
HIALEAH, FL 33012
